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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

IN RE:                                            §
                                                  §
ALEXANDER E. JONES,                               §      CASE NO. 22-33553
                                                  §      (Chapter 11)
       DEBTOR.                                    §
                                                  §


             NOTICE OF CONTINUED FIRST MEETING OF CREDITORS

   YOU ARE HEREBY NOTIFIED that the continued meeting of creditors scheduled for

March 30, 2023 has been further continued to April 4, 2023 at 2:00 p.m. Central Time. Any

party wishing to participate may call 866-769-2770, then enter the Participant Code 6665569

followed by the pound or hashtag symbol - #.



Dated: March 31, 2023                      KEVIN M. EPSTEIN
                                           United States Trustee Region 7
                                           Southern and Western Districts of Texas

                                           By:    /s/ Jayson B. Ruff
                                                  Jayson B. Ruff
                                                  Trial Attorney
                                                  MI State Bar No. P69893
                                                  Office of the United States Trustee
                                                  515 Rusk Avenue, Suite 3516
                                                  Houston, TX 77002
                                                  (713) 718-4650 Ext. 252
                                                  (713) 718-4670 Fax
                                                  Jayson.B.Ruff@usdoj.gov
